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IN THE UNITED sTA'I'Es DISTRICT coURT "" ‘

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION OSAUG ll PH hezh
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wALTER MCGHEE, II, ."f~f»' '~J¥'* Ti"=' i.a"&h-§F

Plaintiff,
vs. No. 05-2525-D/V
ANDREW PALMER,

Defendant.

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ORDER GRANTING MOTION TO PROCEED L\T_ FORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT 'I'AKEN IN GOOD FAI'I'H
AND
NOTICE OF APPELLA'I'E FILING FEE

 

Plaintiff Walter McGhee, II, a citizen of Memphis, Tennessee,
has filed a complaint under 42 U.S.C. § 1983 along with motion to
proceed in fgrm§ pauperis and for appointment of counsel. The
motion is GRANTED. The Clerk of Court shall file the case and
record the defendant as Andrew Palmer.

A district court is vested with broad discretion in
determining whether to appoint counsel for an indigent civil
litigant. gee Lavado v. Keohane, 992 F.2d 601, 604-05 (6th Cir.
1993). Notably, however, appointment of counsel in a civil case is
not a constitutional right, and courts generally do not appoint
counsel in a civil case absent a showing of "exceptional
circumstances." ;QA at 605-06. In determining whether an
appointment is warranted, courts evaluate the type of case, the

complexity' of the factual and legal issues involved, and the

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ability of the litigant to represent himself. §g§ id* at 606;
Kilgo v. Ricks, 983 F.2d 189, 193 (llth Cir. 1993)("The key [to
determining whether exceptional circumstances exist] is whether the
p;g §§ litigant needs help in presenting the essential merits of
his or her position to the court. Where the facts and issues are
simple, he or she usually will not need such help.") Appointment
of counsel in a civil case is not appropriate when a litigant's
claims are frivolous, or when the chances of success are extremely

slim. See Lavado, 992 F.2d at 604-05; Maclin v. Freake, 650 F.2d

 

885, 887 (7th Cir. 1981)("[B]efore the court is justified in
exercising its discretion in favor of appointment, it must first
appear that the claim has some merit in fact and law.").

The Court concludes that an appointment of counsel is not
warranted. As explained below, McGhee’s complaint is to be
dismissed and his motion for appointment of counsel is denied.

Plaintiff McGhee sues Memphis Police Officer Andrew Palmer.
McGhee alleges that Palmer arrested him on July 27, 2000 in
retaliation. for exercising his First Amendment right to free
speech. He alleges that he was arrested and searched without
probable cause. McGhee further alleges that he was not properly
Mirandized. McGhee alleges that the Officer failed to appear at a
court hearing on March 31, 2001, and the charges against him were
dismissed. He further alleges that he was “libelled” at the time
of his arrest. Although the charges against him were dismissed, he

contends he should have been allowed to testify and his right to

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confront his accusers was violated. McGhee contends that his
complaint:
is timely because federal law trumps all state laws and
there is not statute of limitations on federal civil
rights claims. Therefore there should be no statute of
limitations on state civil rights claims since all states
abide by federal law. No state shall make a law that is
in conflict with the Constitution.
McGhee further contends the Tenn. Code Ann. § 28-3»104 is
unconstitutional.
The statute of limitations applicable to actions brought under
the federal civil rights statutes is the limitations period

governing personal injury claims in the state in which the claim

arose. Wilson v. Garcia, 471 U.S. 261, 175-76 (1985). In

 

Tennessee, the applicable limitation period is one year after the
cause of action accrues. Tenn. Code Ann. § 28~3-104(a)(3); Jackson
v. Richards Medical Co., 961 F.2d 575, 578 (6th Cir. 1992); §§;QL
v. State of Tennessee, 796 F.2d 879 (6th Cir. 1986)(applying
statute to § 1983).1

Although the statute of limitations is normally an affirmative
defense that should. be raised by the defendant, and although
ordinarily "a complaint should not be dismissed as frivolous on the
basis of an affirmative defense", a court may act sua sponte to
dismiss a complaint if "the defense is obvious from the face of the
complaint." Stringfellow v. Wadsworth Police Dept., No. 96-3815,

1997 WL 327313 (6th Cir. June 12, 1997)(quoting Yellen v. Cooper,

 

1 Even if plaintiff's claim against Palmer were construed only as a libel

action (which could not be maintained in federal court), it would still be time
barred. Any action for libel must be brought “within one (1) year after the
cause of action accrued." Tenn. Code Ann. § 28-3-104(a)(1).

3

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828 F.2d 1471, 1475-76 (10th Cir. 1987)).2 See also Franklin v.
Murphy, 745 F.2d 1221, 1228 (9th Cir. l984)(holding that "[a]n
action may be dismissed under section 1915(d) where the defense is
complete and obvious from the face of the pleadings or the court's
own records."). Here, all allegations are of events which arose
over four years before this complaint was filed. Accordingly,
these claims are barred by the statute of limitations.
Accordingly, this complaint lacks an arguable basis either in
law or in fact, and is legally frivolous. §pp Neitzke v. Williams,
490 U.S. 319, 325 (1989). "The term 1frivolous' is used to denote
not only a claim wholly lacking in merit but also a suit that, for

whatever reason, clearly can't be maintained." Okoro v. Bohman,

 

164 F.Bd 1059, 1063 (7th Cir. 1999)(categorizing nature of various
types of dismissals for purposes of frivolity and ppg judicata and
concluding that dismissals for' want of jurisdiction count as
frivolous). As the complaint is frivolous and fails to state a
claim upon which relief may be granted, it is DISMISSED pursuant to
28 U.S.C. §§ 1915(e)(2)(B)(i) and (ii).

The final issue to be addressed is whether plaintiff should be
allowed to appeal this decision lp fp;ma pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
fppm§ pauperis if the trial court certifies in writing that it is

not taken in good faith.

 

2 Although citation to unpublished Sixth Circuit precedents is
disfavored, this case is referred to in the absence of clear published case law
from this Circuit "because it establishes the law governing the present action
and 'there is no [Sixth Circuit] published opinion that would serve as well.'"
Norton v. Parke, 892 F.2d 476, 479 n.7 (6th Cir. 1989).

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The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp Accordingly,
it would be inconsistent for a district court to determine that a
complaint is too frivolous to be served, yet has sufficient merit
to support an appeal ip fp;ma pauperis. §ep Williams v. Kullman,
722 F.2d 1048, 1050 n.l (2d Cir. 1983). The same considerations
that lead the Court to dismiss this case as frivolous and for
failure to state a claim also compel the conclusion that an appeal
would be frivolous.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § l915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith and plaintiff may not proceed on appeal ip fp;ma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997), and Floyd v. United
States Postal Service, 105 F.3d 274 (6th Cir. 1997), apply to any
appeal filed by the plaintiff in this case.

If plaintiff files a notice of appeal, he must pay the entire
$255 filing fee required by 28 U.S.C. §§ 1913 and 1917.3 The
entire filing fee must be paid within thirty days of the filing of

the notice of appeal.

 

3 The fee for docketing an appeal is $250. See Judicial Conference

Schedule of Fees, j 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the Clerk of the district court, by the appellant
or petitioner.

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By filing a notice of appeal the plaintiff becomes liable for
the full amount of the filing fee, regardless of the subsequent
progress of the appeal. If the plaintiff fails to comply with the
above assessment of the appellate filing fee within thirty days4 of
the filing of the notice of appeal or the entry of this order,
whichever occurred later, the district court will notify the Sixth
Circuit, who will dismiss the appeal. If the appeal is dismissed,
it will not be reinstated once the fee is paid. McGore, 114 F.3d

at 610.

IT Is so oRDERED this {(“'b` day of August, 2005.

 

 

4 The district court may extend this deadline one time by thirty days

if the motion to extend is filed within the meaning of Houston v. Lack, 487 U.S.
266 (1988), and Fed. R. App. P. 4(c) before the expiration of the original
deadline. McGore, 114 F.3d at 610.

 

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02525 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

Walter McGhee
2810 Montague Avenue
1\/1emphis7 TN 38114

Honorable Bernice Donald
US DISTRICT COURT

